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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
               v.                             :
                                              :      Criminal No. 21-552 DLF
KENNETH THOMAS,                               :
                                              :
       Defendant.                             :

               MOTION IN LIMINE REGARDING AUTHENTICATION
           OF CERTAIN VIDEO, PHOTO, AND SOCIAL MEDIA EVIDENCE

       At trial during its case-in-chief, the government expects to offer several video clips,

photographs, and social media posts depicting or discussing defendant Kenneth Joseph Thomas

on January 6, 2021. These materials were obtained by the FBI from publicly available sources

such as YouTube, Twitter, Telegram, and Rumble, publicly available archives, such as Internet

Archive, and from clips taken by cameras and cellphones carried by journalists and rioters. As set

forth below, the FBI case agent’s testimony will satisfy the low bar required for this Court, as the

gatekeeper of admissible evidence, to make an initial ruling of authenticity to admit the evidence,

to then allow the jury, as the fact finder, to make a final determination whether the admitted

evidence is authentic and how much weight to give it.

                                        BACKGROUND

       Much of the riot at, and attack on, the United States Capitol Building was recorded on

video: on surveillance footage captured by mounted U.S. Capitol Police (“USCP”) cameras; by

body-worn cameras affixed to Metropolitan Police Department (“MPD”) officers; and by cameras

and cellphones carried by journalists and rioters. The government’s case-in-chief at trial will rely

in part on USCP and MPD camera footage to prove the defendant’s specific conduct and the larger
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context in which it took place. Should the defense not stipulate to the authenticity of these two

types of footage, the government will call appropriate USCP and MPD witnesses at trial. But the

government also intends to introduce footage from videos taken by other rioters or by journalists,

which FBI agents obtained via either open sources or searches of other defendants’ devices. For

this type of video evidence, the government seeks a pretrial ruling on authenticity.

                                          ARGUMENT

       Under Federal Rule of Evidence 901(a), “[t]o satisfy the requirement of authenticating or

identifying an item of evidence, the proponent must produce evidence sufficient to support a

finding that the item is what the proponent claims it is.” Rule 901(b) provides a non-exhaustive

list of examples of evidence that satisfies this requirement, including comparisons to authenticated

specimen, and examining the “appearance, contents, substance, internal patterns, or other

distinctive characteristics of the item, taken together with all the circumstances.” FRE 901(b)(3),

(4).

       Establishing an item’s authenticity is not “a particularly high hurdle.” United States v.

Ortiz, 966 F.2d 707, 716 (1st Cir. 1992); see also United States v. Vidacak, 553 F.3d 344, 349 (4th

Cir. 2009) (“The burden to authenticate under Rule 901 is not high”); Link v. Mercedes-Benz of N.

Am., Inc., 788 F.2d 918, 927 (3d Cir. 1986) (“The burden of proof for authentication is slight.”);

United States v. Hassanshahi, 195 F. Supp. 3d 35, 48 (D.D.C. 2016) (“The threshold for the

Court’s determination of authenticity is not high, … and the proponent’s burden of proof for

authentication is slight[.]”) (citation and quotation marks omitted).

       Rule 901 “requires only a prima facie showing of genuineness” for the evidence to be

admissible. United States v. Harvey, 117 F.3d 1044, 1049 (7th Cir. 1997). Stated differently, “[t]he

standard the district court must apply in evaluating a document’s authenticity is whether there is



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enough support in the record to warrant a reasonable person in determining that the evidence is

what it purports to be.” United States v. Blanchard, 867 F.3d 1, 6 (1st Cir. 2017). After clearing

that low hurdle, the evidence should first be admitted, to subsequently allow the fact finder to make

the ultimate decisions regarding authenticity and probative value. See Vidacak, 553 F.3d at 349

(“The district court’s role is to serve as gatekeeper in assessing whether the proponent has offered

a satisfactory foundation from which the jury could reasonably find that the evidence is

authentic.”); United States v. Belfast, 611 F.3d 783, 819 (11th Cir. 2010) (“Once that prima facie

case is established, the evidence is admitted and the ultimate question of authenticity is decided by

the jury.”).

          To make out a prima facie showing of authenticity, “circumstantial evidence of authenticity

can be sufficient.” United States v. Bruner, 657 F.2d 1278, 1284 (D.C. Cir. 1981). 1 Establishing

authenticity of photographic evidence does not require testimony from a witness who was

physically present and observing the scene at the time it was captured by the camera. United States

v. Rembert, 863 F.2d 1023, 1027 (D.C. Cir. 1988). And, importantly, the party seeking to admit

evidence need not “rule out all possibilities inconsistent with authenticity, or to prove beyond any

doubt that the evidence is what it purports to be.” United States v. Holmquist, 36 F.3d 154, 168

(1st Cir. 1994). Nor is government required to establish that the proffered evidence has not been

altered or staged. United States v. Broomfield, 591 F. App’x 847, 852 (11th Cir. 2014) (finding

sufficient evidence of authenticity even though “there was no testimony establishing that the

recording equipment was reliable or that the video was not altered or staged”). 2


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  In deciding preliminary questions about the admissibility of these photos and videos, “[t]he court is not
bound by evidence rules, except those on privilege,” (FRE 104(a)), and may rely upon hearsay or otherwise
inadmissible evidence in establishing the authenticity. See, e.g., United States v. White, 116 F.3d 903, 914
(D.C. Cir. 1997).
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    As a side note, the Eleventh Circuit also held that the factors articulated in United States v. Biggins, 551

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        Indeed, questions concerning possible alterations go to the weight the fact finder should

give the evidence, not to its authenticity. United States v. Safavian, 435 F. Supp. 2d 36, 41 (D.D.C.

2006) (arguments that earlier emails included in an email chain may have been altered before being

forwarded are “more appropriately directed to the weight the jury should give the evidence, not to

its authenticity”). The government must only “‘demonstrate that, as a matter of reasonable

probability, possibilities of misidentification and adulteration have been eliminated.’” United

States v. Celis, 608 F.3d 818, 842 (D.C. Cir. 2010) (quoting United States v. Stewart, 104 F.3d

1377, 1383 (D.C. Cir. 1997)); see also, e.g., United States v. Bowens, 938 F.3d 790, 794-95 (6th

Cir. 2019) (explaining that while “[a]nyone could have used the defendants’ Facebook accounts,

just as the pictures could have depicted the men smoking tobacco cigars, and ‘getting high’ could

have been a reference to skydiving,” there was sufficient circumstantial evidence “for the jury to

infer that the accounts belonged to the defendants, and that the defendants were the authors of the

posts [which were] about using marijuana” (emphasis added)).

        In deciding preliminary questions about the admissibility of photos and videos, “[t]he court

is not bound by evidence rules, except those on privilege.” Fed. R. Evid. 104(a). In other words,

the government may rely upon otherwise inadmissible evidence in establishing the authenticity of

the photo and video evidence described in this motion. See, e.g., United States v. White, 116 F.3d

903, 914 (D.C. Cir. 1997). Of course, even with a pretrial ruling that evidence is authentic, and

thus admissible, the government must introduce sufficient evidence at trial from which a

reasonable fact-finder could reach the same conclusion regarding authenticity. See, e.g., United

States v. Gammal, 831 F. App’x 539, 542 n.6 (2d Cir. 2020) (unpublished) (“Insofar as the District



F.2d 64, 66 (5th Cir. 1977), are inapplicable in criminal cases where the government finds a video on
YouTube, holding that if the Biggins factors applied, “the prosecution could seldom, if ever, authenticate a
video that it did not create.” Broomfield, 591 F. App’x at 852.

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Court relied on non-public information to make its preliminary determination, it did not err because

it did not do so in lieu of the presentation of sufficient authenticating public evidence later at

trial.”); United States v. Puttick, 288 Fed. App’x 242, 246 (6th Cir. 2008) (unpublished) (“It is

permissible for the judge to make a preliminary determination as to authentication, admit the

evidence conditionally under Rule 104(b), and then allow the jurors to be the final arbiters of

whether it was actually authenticated.”); United States v. Branch, 970 F.2d 1368, 1371 (4th Cir.

1992) (“Thus, even though the district court may have ruled during an in camera proceeding that

the proponent had presented sufficient evidence to support a finding that a tape recording was

authentic, evidence that would support this same ruling must be presented again, to the jury, before

the tape recording may be admitted.”).

                    FRE 901(b)(3) – Comparison with A Known Specimen

       “Authentication by comparison is routine.” Valve Corp. v. Ironburg Inventions Ltd., 8 F.4th

1364, 1371 (Fed. Cir. 2021). For example, photos and videos of a scene can be authenticated by

comparison with previously admitted exhibits that show the same scene from other angles. See

United States v. Hoyt, 946 F.2d 127 (D.C. Cir. 1991) (“[W]e will assume without deciding that the

photograph was sufficiently authenticated by comparison with previously admitted Government

Exhibit 11, which showed the door from another angle.”); Diaz v. County of Ventura, 512 F. Supp.

3d 1030, 1035 (C.D. Cal. 2021) (“Here, the videos can be authenticated through other evidence on

the record—namely, other video and photographic evidence of the incident that Green provides.”);

State v. Haight-Gyuro, 186 P.3d 33, 38 (Ariz. Ct. App. 2008) (finding video sufficiently

authenticated by comparison with separately authenticated photographs); 5 Weinstein’s Federal

Evidence § 901.03 (“When authentication of an item of evidence is accomplished by comparison

with a specimen, the specimen itself must be proved to be authentic […] Nor does it matter what



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type of evidence the specimen consists of; the requirements for authenticating all types of

specimens … are the same: prima facie proof that they are what their proponent claims them to

be.”).

         In other January 6 trials in this district, the court found similar “open-source” evidence to

be authentic by comparison under Rule 901(b)(3). United States v. Rodean, 1:21-cr-57-TNM, Dkt.

50 (D.D.C. Apr. 20, 2022); United States v. Seefried, et al., 1:21-cr-287-TNM, Dkt. 56 (D.D.C.

May 20, 2022). In both Rodean and Seefried, the court compared screenshots of video from a

known source (USCP CCTV), which showed the Senate Wing Doors from the inside facing out,

with screenshots of video footage taken by an unspecified rioter showing the Senate Wing Doors

from the outside looking in. See, e.g., Rodean, Dkt. 50 at 2. The court noted similar objects

depicted in both sets of screenshots: doors of a building flanked by windows, a crowd of rioters

near the windows, and a wooden beam sticking through a shattered window. Id. The court found

these similarities sufficient and granted the government’s pretrial motion to find the video taken

by the unspecified rioter to be authentic. Id. at 6.

         Here, the government anticipates offering video clips from USCP mounted cameras and

MPD body worn cameras, as well as from sources other than the USCP. Some of these other

sources include reporters who were present in the Capitol on January 6, 2021, defendant Thomas,

himself, defendant’s fellow rioters, or other members of the crowd. Many of the videos were

obtained through open-source means and are publicly available; others were obtained by agents

from searches of other January 6 defendants’ devices. For any such videos, the government will

establish authenticity by asking the jury to compare them with other authenticated exhibits, in

particular, to USCP and MPD camera footage. Fed. R. Evid. 901(3). This footage will confirm that

such videos are what they purport to be: recordings of the same events, captured from slightly



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different perspectives, and in some cases depicting events and sounds that were not captured by

the USCP or MPD cameras.

        The government expects that the case agent will testify as follows: she has been

investigating January 6 Capitol riot-related cases since shortly after January 6, 2021; she has

reviewed hours of video footage recorded by USCP CCTV cameras, MPD body worn cameras,

journalists, and rioters; and she is personally familiar with the locations depicted in those videos

from being physically present at the Capitol January 6, 2021. She will assist the Court and the jury

in identifying similarities between USCP and MPD videos and the other non-government and/or

open-source videos offered by the government.

        For example, she and/or MPD officer(s) will testify about body worn camera footage of

officers on the Capitol’s West Terrace, which show the defendant taunting, assaulting, and

physically resisting law enforcement officers’ efforts to remove the unauthorized crowd from the

restricted Capitol grounds between approximately 3:30 and 4:30 PM on January 6, 2021. A few

screenshots from those body worn cameras are below. The defendant is the person wearing the

camouflage baseball hat, glasses, a tan jacket, and a gray hoodie sweatshirt.

        For example, the case agent and/or MPD officer(s) will testify that in the screenshots

below, around 3:30 PM, defendant Thomas is shown on body worn camera starting at the bottom

and running up a short set of stairs towards a line of MPD officers on the West Terrace; after the

officers force him back down those steps once, he runs back up the stairs a second time and assaults

the line of officers.




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       The case agent and/or MPD officer(s) will further testify that video obtained from open

sources, such as YouTube, shows the same incident and time period, but from a different, more

distant vantage point. A screenshot from that open-source YouTube video is below.




       Similarly, the case agent and/or MPD officer(s) will testify that in the screenshots below,

around approximately 4:22 through 4:30 PM, defendant Thomas is shown on body worn camera

assaulting a different line of officers on the West Terrace while videoing his interactions with law

enforcement.




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       The case agent and/or MPD officer(s) will further testify that video obtained from the

defendant’s own YouTube channel shows a number of the same incidents and time periods, but

from defendant’s perspective. A few screenshots from that open-source YouTube video are below.




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        The case agent or MPD officer can identify regarding common architectural and grounds

features to establish that both videos depict certain areas on restricted Capitol grounds, common

clothing items to establish that both videos show the same people, particularly the defendant, and

common gestures and movements to establish that both videos show the same moment when

rioters, including the defendant, physically assaulted and resisted the officers’ efforts to clear the

restricted Capitol grounds.

       The Government will use a similar approach to introduce and authenticate other non-

government-produced photographs and videos, if not stipulated to by the parties. For example,

the case agent will testify that video in the screenshot below was obtained from defendant’s own

YouTube channel, which shows an interview he provided to a local news channel; in the video,

defendant is referred to as “Pi Annon” and he discusses being the “organizer” of the “Maga

Caravan” going to D.C. The agent will identify common clothing items to establish that both the

open source video and BWC videos show the defendant.




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        In each instance, as exemplified above, the case agent will be able to point out similarities

sufficient to satisfy the low prima facie showing required for this Court to admit the offered photos

and videos into evidence and allow the jury to make the final factual determinations about their

authenticity. See Vidacak, 553 F.3d at 349; Belfast, 611 F.3d at 819. As with all admitted evidence,

it will then be up to the jury, as the finder of fact, to determine how much weight to give this

evidence. 3

                                             CONCLUSION

        For the foregoing reasons, the government respectfully requests that this Court find the

open source photo, video, and social media evidence offered by the government to be authentic

and admissible.

                                                  Respectfully submitted,

                                                  MATTHEW M. GRAVES

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 Alternatively, the Court may find the agent’s testimony establishes the authenticity of the proffered photos
and videos due to their “appearance, contents, substance, internal patterns, or other distinctive
characteristics … taken together with all the circumstances.” FRE 901(b)(4). In addition, the government
anticipates calling witnesses at trial who are familiar with the defendant’s voice, and who can identify the
speaker in many of the videos taken on January 6, 2021 as the defendant. FRE 901(b)(5).

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